Case: 4:24-cv-00241-MTS      Doc. #: 58    Filed: 03/24/25   Page: 1 of 2 PageID #: 208




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

ANTONIO HEGWOOD,                            )
                                            )
            Plaintiff,                      )
                                            )
      vs.                                   )         Case No. 4:24-cv-00241-MTS
                                            )
INTERNATIONAL PAPER COMPANY,                )
                                            )
            Defendant.                      )

                           MEMORANDUM AND ORDER

      The parties repeatedly have disregarded the Alternative Dispute Resolution

(“ADR”) deadlines and orders in this case. The Court’s most recent Order required the

parties to file an updated Designation of Neutral no later than Thursday, March 13, 2025.

Doc. [55]. They did not do so. Only after the Clerk of Court entered an Electronic

Notice of Noncompliance on Monday, March 17, did Plaintiff file a Motion for Extension

of Time. In it, he revealed that he did reach out to Defendant about ADR, but he did so

just a single day before the Designation of Neutral was due. Plaintiff then contacted

Defendant again on Sunday, March 16. At least by the time of Plaintiff’s filing on

Tuesday, March 18, Defendant had not responded. Defendant has not yet filed anything

regarding the deadline even though the Court’s Order plainly required the parties to file

an updated Designation of Neutral.

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiff shall file an updated Designation of

Neutral no later than noon on Tuesday, March 25, 2025. Plaintiff may unilaterally
Case: 4:24-cv-00241-MTS      Doc. #: 58     Filed: 03/24/25   Page: 2 of 2 PageID #: 209




select the neutral and the date and time of ADR; Plaintiff need not consult Defendant.

The Court’s requirement that ADR be completed no later than April 25, 2025, remains.

See Doc. [54]. Defendant will be required to attend. If Plaintiff fails to timely file the

updated Designation of Neutral, the Court will dismiss this action. See Hutchins v.

A.G. Edwards & Sons, Inc., 116 F.3d 1256, 1259 (8th Cir. 1997) (“A district court has the

power to dismiss a litigant’s cause of action when the litigant fails to comply with the

court’s orders.”); see also, e.g., Tolden v. City’s Finest, LLC, 4:23-cv-01535-MTS, 2025

WL 252466, at *2 (E.D. Mo. Jan. 21, 2025) (dismissing action for failure to comply with

ADR deadlines).

      IT IS FURTHER ORDERED that no later than noon on Thursday, March 27,

2025, Defendant shall file a memorandum with the Court disclosing who will participate

in ADR on its behalf. Cf. E.D. Mo. L.R. 6.02(C)(1)(a)–(b), (2). Failure to do so will

result in an appropriate sanction. Id. at 6.05(A).

      Dated this 24th day of March 2025.



                                          MATTHEW T. SCHELP
                                          UNITED STATES DISTRICT JUDGE




                                           -2-
